                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF KENTUCKY
                             CENTRAL DIVISION
                                  FRANKFORT
                               Electronically Filed



 COMMONWEALTH OF KENTUCKY, et
 al.,

           Plaintiffs,                                Civil No. 3:21-cv-00055-GFVT
     v.

 JOSEPH R. BIDEN, et al.,

           Defendants.



DEFENDANTS’ EMERGENCY MOTION FOR STAY PENDING APPEAL AND FOR
               IMMEDIATE ADMINISTRATIVE STAY

       Defendants respectfully seek an emergency stay pending appeal of the Court’s

November 30, 2021 Opinion and Order, ECF No. 50 (“Order”), which enjoined the

Federal Government “from enforcing the vaccine mandate for federal contractors and

subcontractors in all covered contracts in Kentucky, Ohio, and Tennessee.” Id. at 29.
Defendants also request that the Court enter an immediate administrative stay of that

order while the Court considers the Defendants’ stay motion, and to allow the Sixth

Circuit time to consider an emergency stay motion if this Court does not issue one. As

explained below, Defendants seek an emergency stay of the Court’s order pending appeal

given the Defendant’s likelihood of success on appeal; the likelihood that the

Government will suffer irreparable harm in the absence of a stay, including harm to its

ability to contract under terms of its choosing and other governmental interests; and the

likelihood of harm to third parties and the public interest.

       Defendants understand the Court’s order to prevent federal agencies from


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enforcing, within the Plaintiff States of Kentucky, Ohio, and Tennessee, those contract

provisions described in its order that are included in certain categories of government

contracts pursuant to Executive Order 14042, so long as the preliminary injunction

remains in place. Order at 29 (enjoining the Government “from enforcing the vaccine

mandate for federal contractors and subcontractors in all covered contracts in Kentucky,

Ohio, and Tennessee”); see also Transcript of 11/18/2021 Hearing (“Transcript”), at 66:12–

17 (“THE COURT: It doesn’t sound like you’re trying to keep the federal government

from including the provisions in their contracts. You just want an injunction against the

enforcement of that provision preliminarily pending the final resolution. [Counsel for

Plaintiffs]: That’s right.”); Defs.’ Opp., ECF No. 27 at 31 (“any relief should merely block

enforcement—not inclusion—of a COVID-19 safety clause.”).                Defendants also

understand that the injunction is not limited to enforcement of the Safer Federal

Workforce Task Force’s vaccination requirements, but also prevents federal agencies

from enforcing requirements related to masking and physical distancing. See 86 Fed. Reg.

at 63,418; id. at 63, 420–21.

       For the reasons set forth below, the Court should stay the effect of its preliminary

injunction until the Defendants have completed their appeal. In the alternative, at a

minimum, the Court should stay its order insofar as it prohibits Defendants from
enforcing COVID-19 safety clauses in federal contracts with non-parties in Kentucky,

Ohio, and Tennessee—a stay that would cause Plaintiffs no prejudice while otherwise

preserving the status quo as Defendants seek appellate review.

                                      ARGUMENT

       The factors governing a request for a stay pending appeal are “(1) the likelihood

that the party seeking the stay will prevail on the merits of the appeal; (2) the likelihood

that the moving party will be irreparably harmed absent a stay; (3) the prospect that

others will be harmed if the court grants the stay; and (4) the public interest in granting



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the stay.” Michigan Coal. of Radioactive Material Users, Inc. v. Griepentrog, 945 F.2d 150, 153

(6th Cir. 1991). Where the federal government is a party, its interests and the public

interest overlap. See Nken v. Holder, 556 U.S. 418, 420 (2009).

I.     The Balance Of Harms And Public Interest Warrant A Stay Pending Appeal.

       Because the balance of the harms and the public interest weigh so overwhelmingly

in favor of a stay, Defendants address those factors first. As this Court has already

recognized, the “OMB Determination provided ample support for the premise that a

vaccine mandate will improve procurement efficiency.” Order at 26; see also 86 Fed. Reg.
63,421–23; see also Determination of the Acting OMB Director Regarding the Revised Safer

Federal Workforce Task Force Guidance for Federal Contractors and the Revised

Economy & Efficiency Analysis, 86 Fed. Reg. 63418 (“OMB Determination”).

       Delaying the “implementation of the COVID-19 workplace safeguards issued

pursuant to the Executive Order would result in a significant reduction in economy and

efficiency in the Federal Government’s procurement of essential services that are required

to support the American people, combat the COVID-19 crisis, and carry out national

security missions at a critical time for our Nation.” Declaration of Lesley A. Field, the

Acting Administrator and Deputy Administrator for Federal Procurement Policy in the

Office of Management and Budget and member of the Federal Acquisition Regulatory

Council (“FAR Council”). Ex. A, ¶ 3 (“Field Decl.”).

       Enjoining the enforcement of contract clauses that require vaccination, masking,

and physical distancing will decrease the economy and efficiency of federal procurement.

The effects of any injunction will not only impact federal operations, but will also disrupt

contractor activity beyond the borders of the Plaintiff States and will undermine

important national interests.

       First, “the injunction will impose an immediate and significant category of harm

in the form of productivity losses on Federal contracts performed in Ohio, Tennessee, and



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Kentucky.” Field Decl. ¶ 7. Losses will come from “schedule delays,” “leave and health

care costs for workers who are sick, isolating, or quarantined and unable to perform,”

“reduced performance quality,” “delays in companies being able to return teleworking

employees safely to physical workplaces,” “reprocurement costs” and “downstream

program impacts where one Federal program is dependent on the timely performance of

another program that is supported by a contractor impacted by the injunction.” Id. ¶ 9.

       Second, delayed implementation of COVID-19 safeguards will disrupt

productivity outside Kentucky, Ohio, and Tennessee. “Prime contractors in other states

who depend on subcontractors covered by the injunction will likely experience delays of

their own as they make schedule adjustments to accommodate subcontractors

experiencing schedule delays, workforce shortages, and schedule disruptions, or look for

other suppliers, which could drive up costs for Federal customers.” Id. ¶ 16.

       Finally, the disruption caused by the preliminary injunction will reverberate

across the entire nation. “[M]ission disruptions” caused by inability to enforce COVID-

19 safety protocols “will hinder the Federal Government’s ability to combat the current

COVID-19 pandemic, respond to COVID-19 variants and future pandemics as they arise,

and carry out National security missions.” Id. ¶ 18. “Major defense-related programs

having activity spanning across all States will also be negatively affected by delays and

disruptions caused in these three States,” including “the manufacturing of munitions and

aerospace parts for fighter jets, fueling nuclear submarines and aircraft carriers, and

operation of research facilities for the advancement of defense capabilities related to

science, technology, engineering, math, transportation, and logistics.” Id. at ¶ 20.

       By contrast, Plaintiffs have identified no irreparable injury that would result from

a stay. Plaintiffs fail to identify any new contracts that they plan to seek that contain a

federal vaccine requirement, see Order at 6, thus any harm they might suffer from

“los[ing] out on future federal contracts” is purely speculative, contra id. at 26. Although

Plaintiffs note that many companies in their states have contracts with the federal


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government, they identify no imminent injury to those contractors that would result from

a stay and make the unwarranted assumption that contractors generally oppose a vaccine

requirement. Moreover, the Federal Government here is exercising its constitutional

authority to manage federal contracts; the challenged actions thus do not invade an area

“constitutionally reserved” to the state Plaintiffs. Contra Order at 27 (quoting BST

Holdings, 2021 WL 5279381, at *8); see also Hodel v. Va. Surface Mining & Reclamation Ass’n,

452 U.S. 264, 291 (1981). And “the individual Plaintiffs”—“who are suing in their official

capacities,” Order at 7 n.6 (emphasis added)—did not allege any “loss of constitutional

freedoms” that would constitute irreparable injury. Contra id. at 27 (quoting BST Holdings,

2021 WL 5279381, at *8).
II.    The Government Is Likely To Succeed On The Merits.

       Defendants acknowledge that this Court has found that EO 14042 likely exceeds

the President’s authority under FPASA, 40 U.S.C. § 121(a). Defendants nevertheless sub-

mit that they are likely to succeed in arguing to the contrary on appeal. The President, to

whom FPASA expressly grants “a broad delegation of power” to manage federal pro-

curement, see Order at 11, acted well within his delegated authority in issuing a federal

contractor vaccine requirement to limit the spread of COVID-19 among the federal con-

tractor workforce.

       FPASA expressly empowers the President to “prescribe policies and directives

that the President considers necessary to carry out” the Act’s purpose of creating an “eco-

nomical and efficient system” of federal procurement. 40 U.S.C. §§ 101, 121(a). “[T]his

power has its limits,” however. Order at 14. A presidential policy or directive must be

“consistent” with FPASA, 40 U.S.C. § 121(a)—that is, it must “reasonably relate[] to . . .

ensuring efficiency and economy in government procurement.” Liberty Mut. Ins. Co. v.

Friedman, 639 F.2d 164, 170 (4th Cir. 1981); accord AFL-CIO v. Kahn, 618 F.2d 784, 793 &

n.49 (D.C. Cir. 1979) (en banc).




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      EO 14042 easily satisfies this “lenient” standard. See UAW-Lab. Emp. & Training

Corp. v. Chao, 325 F.3d 360, 366 (D.C. Cir. 2003). Faced with a once-in-a-century pandemic

that upended the American economy, threatened the health of the American workforce,

and disrupted the operations of federal contractors, it is hard to conceive of a procure-

ment policy that would be more likely to create safer contractor work environments, re-

duce employee absenteeism, and reduce contractors’ cost of labor over the long term than

a vaccination requirement for contractor employees. Indeed, as this Court held, the OMB

Director’s thorough analysis of the economic impact of compliance with the Task Force
guidance among federal contractors provides “ample support for the premise that a vac-

cine mandate will improve procurement efficiency.” Order at 26; see also Determination

of the Acting OMB Director Regarding the Revised Safer Federal Workforce Task Force

Guidance for Federal Contractors and the Revised Economy & Efficiency Analysis, 86

Fed. Reg. 63,418, 63,418 (Nov. 16, 2021), http://federalregister.gov/d/2021-24949; ECF No.

27 at 14–16. Therefore, because there exists a self-evident nexus between the federal con-

tractor vaccination requirement and economy and efficiency in federal procurement, EO

14042 rests squarely on the authority Congress delegated to the President under FPASA.

      Plaintiffs are also unlikely to show that the challenged actions conflict with the

Competition in Contracting Act (“CICA”), which requires “full and open competition”

and “competitive procedures.” 41 U.S.C. § 3301(a)(1). As Defendants explained, see ECF

No. 27 at 12, National Government Services, Inc. v. United States, 923 F.3d 977 (Fed. Cir.

2019), upholds “the unremarkable proposition that a solicitation requirement . . . is not

necessarily objectionable simply because that requirement has the effect of excluding cer-

tain offerors who cannot satisfy that requirement.” Id. at 985-86; contra Order at 15. If

anything, National Government Services teaches that solicitation requirements excluding

officers do not violate CICA as long as the agency has a reason for establishing the re-

quirement, which might be because the requirement will “likely result in reduced overall




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cost for the procurement.” 923 F.3d at 986. In other words, when the Government in-

cludes a clause that promotes economy and efficiency, it does not run afoul of CICA

simply because some contractors refusing to enter a contract with that clause decline to

submit a bid for that contract. So for the same reasons that EO 14042 and the Task Force

guidance are likely to promote economy and efficiency in federal procurement, EO 14042

and its implementing guidance are unlikely to violate CICA.

       Furthermore, FPASA’s delegation raises no constitutional concerns. “Only twice

in this country’s history” (and only in 1935) has the Supreme Court “found a delegation
excessive—in each case because ‘Congress had failed to articulate any policy or standard’

to confine discretion.” Gundy v. United States, 139 S. Ct. 2116, 2129 (2019) (plurality opinion)

(emphasis added) (quoting Mistretta v. United States, 488 U.S. 361, 373 n.7 (1989)). “By

contrast,” the Supreme Court has “over and over upheld even very broad delegations.”

Id. at 2129; see also id. at 2130–31 (Alito, J., concurring in the judgment) (“[S]ince 1935, the

Court has uniformly rejected nondelegation arguments and has upheld provisions that

authorized agencies to adopt important rules pursuant to extraordinarily capacious stand-

ards.” (emphasis added)). Here, Congress did not “fail[] to articulate any policy or stand-

ard to confine [the President’s] discretion,” which is the only available basis upon which

to find a congressional delegation invalid. See id. at 2129 (internal quotation marks and

citation omitted). Rather, FPASA provides the requisite “intelligible principle” to which

the President must conform, see Mistretta, 488 U.S. at 372, by authorizing him, as CEO of

the Federal Government, to “prescribe policies and directives” that he “considers neces-

sary” to promote economy and efficiency in the narrow field of federal procurement of

property and services, see 40 U.S.C. § 121(a); see also id. § 101.

        Nor do the challenged actions offend the Tenth Amendment. It is undisputed that

Congress enacted FPASA under its Spending Clause authority, U.S. Const. art. I, § 8, cl.

1, and the Court squarely rejected Plaintiffs’ argument that EO 14042 and its implement-




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ing guidance exceed that authority. See Order at 14–15 n.9. And where, as here, “Con-

gress acts under one of its enumerated powers”—and the Executive Branch acts pursuant

to a delegation of those powers—“there can be no violation of the Tenth Amendment.”

See United States v. Mikhel, 889 F.3d 1003, 1024 (9th Cir. 2018) (citation omitted); accord

Town of Johnston v. Fed. Hous. Fin. Agency, 765 F.3d 80, 86 (1st Cir. 2014); United States v.

Hatch, 722 F.3d 1193, 1202 (10th Cir. 2013). This case is therefore plainly distinguishable

from BST Holdings, contra Order at 20, in which the Fifth Circuit found that the federal

action being challenged there “likely exceeds the federal government’s authority under
the Commerce Clause.” 2021 WL 5279381, at *7. Moreover, there is no Tenth Amend-

ment issue where the Federal Government, in exercising its constitutionally delegated

authority, “step[s] into an area traditionally reserved to the States,” contra Order at 20, or

“displaces the States’ exercise of their police powers,” see Hodel, 452 U.S. at 291; accord

Garcia v. San Antonio Metropolitan Transit Authority, 469 U.S. 528, 550 (1985); Maryland v.

Wirtz, 392 U.S. 183, 195 (1968). As the Supreme Court explained in Garcia, courts have

“no license to employ freestanding conceptions of state sovereignty when measuring”

federal authority under the Constitution, id. at 550, because any attempt by a court “to

articulate affirmative limits on [federal] power in terms of core governmental functions

and fundamental attributes of state sovereignty” is “both impracticable and doctrinally

barren,” id. at 556–57.
III.   The Court should stay its order as to non-parties or, if it does not issue such a
       stay, at least clarify that the United States is not enjoined from entering into
       mutual, voluntary agreements with non-party contractors to add and enforce the
       COVID-19 safety protocols.
       Setting the merits aside, at a minimum, the Court should stay its order insofar as

it prohibits Defendants from enforcing COVID-19 safety clauses in federal contracts with

non-parties in Kentucky, Ohio, and Tennessee. As the Court explained, “redressability

in the present case is properly limited to the parties before the Court.” See Order at 28;

accord Gill v. Whitford, 138 S. Ct. 1916, 1921, 1933–34 (2018); Madsen v. Women’s Health Ctr.


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Inc., 512 U.S. 753, 765 (1994). But the Court’s order appears to exceed that limitation by

enjoining the United States from “enforcing the vaccine mandate,” not just with respect

to contracts with the named plaintiffs, but “for federal contractors and subcontractors in

all covered contracts in Kentucky, Ohio, and Tennessee.” Order at 29. Defendants rec-

ognize that the Court held that the Plaintiffs provided a sufficient showing that they

would be injured by the enforcement of the COVID-19 safety clauses in contracts with

other entities. See Order at 6. But Defendants respectfully contend that they are likely

to prevail on that issue on appeal, because Supreme Court precedent forecloses a State’s
ability to bring suit against the federal government “to protect her citizens from the op-

eration of federal statutes” like FPASA. See Massachusetts v. EPA, 549 U.S. 497, 520 n.17

(2007); see also Alfred L. Snapp & Son, Inc. v. Puerto Rico, 458 U.S. 592, 610 n.16 (1982) (“A

State does not have standing as parens patriae to bring an action against the Federal Gov-

ernment.” (citing Massachusetts v. Mellon, 262 U.S. 447, 485-486 (1923), and Missouri v. Il-

linois, 180 U.S. 208, 241 (1901))). And because the Federal Government does not “invade[]

areas reserved to the States by the Tenth Amendment simply because it exercises its au-

thority . . . in a manner that displaces the States’ exercise of their police powers,” Hodel,

452 U.S. at 291, there is no threat to the Plaintiffs’ sovereignty that would justify enjoining

Defendants’ enforcement of COVID-19 safety clauses against non-parties within Plain-

tiffs’ borders. Contra Order at 6, 27. Accordingly, even if the Court does not stay its order

in its entirety, the Court should limit its injunction to only prohibit Defendants from en-

forcing COVID-19 safety clauses contained in federal contracts to which Plaintiffs (or

their state agencies or subdivisions) are a party.

       Additionally, Defendants respectfully request that the Court provide clarification

that its preliminary injunction does not prohibit private federal contractors in Kentucky,

Ohio, and Tennessee from agreeing with Defendants to include COVID-19 safety clauses

in their federal contracts, thus allowing those federal contractors to voluntarily comply

with the Task Force Guidelines, including requiring their employees to be vaccinated.


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Defendants believe this would be consistent with the scope of the injunction Plaintiffs

requested. See Transcript at 65 (“[T]o be clear, Your Honor, our request for relief is not

an injunction of any sort that would be applicable to -- that would enjoin private parties

from doing whatever they want.”); see also id. at 66 (“[C]ertainly, if a party in Kentucky

was a subcontractor for a federal contractor outside these three states, and that other pri-

vate party comes to them and says, We’ve, you know, . . . want to have this in our con-

tracts and subcontracts, we’re not seeking any injunction that would keep a private party

from signing any contract they want.”); id. (“What we want to enjoin is the Executive
Order and then the actions taken by OMB, FAR and the Task Force pursuant to it that

purport to require parties to agree to it as part of receiving or maintaining a federal con-

tract.” (emphasis added)).

                                     CONCLUSION
       Defendants respectfully request that the Court stay its order pending appeal and

enter an immediate administrative stay while this motion is under consideration.

DATED: December 3, 2021                   Respectfully submitted,

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                              CERTIFICATE OF SERVICE

       On December 3, 2021, I electronically submitted the foregoing document with the

Clerk of Court for the U.S. District Court, Eastern District of Kentucky, using the Court’s

electronic case filing system. I hereby certify that I have served all parties electronically

or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                  /s/ Zachary A. Avallone
                                                  ZACHARY A. AVALLONE
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